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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 11-cr-20279-SCOLA

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  ALBERT TAKHALOV,
  STANISLAV PAVLENKO,

        Defendants.
  _______________________________________________/


                 ORDER DENYING MOTIONS TO INCUR COST OF EXPERT
          THIS MATTER is before the Court on the Motions to Incur the Cost of an Expert
  [ECF Nos. 739, 740], filed by Defendants Albert Takhalov and Stanislav Pavlenko.
          These Motions are vague and do not set forth details that would allow the Court to
  determine if the expenditure of $5,000 per expert is reasonable and necessary. Accordingly, it is
  hereby ORDERED and ADJUDGED that the Motions are DENIED without prejudice.
  Defendants may re-file their Motions, provided they set forth in detail the nature of the evidence
  and their need for an expert. If the information is sensitive, Defendants may move ex parte and
  file their request under seal.

          DONE and ORDERED in chambers at Miami, Florida on August 24, 2012.



                                                      ________________________________
                                                      ROBERT N. SCOLA, JR.
                                                      UNITED STATES DISTRICT JUDGE
  Copies to:
  Counsel of record
